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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

EMOJI COMPANY GmbH,


        Plaintiff,
v.                                                     Case No.:

THE INDIVIDUALS, CORPORATIONS,
LIMITED LIABILITY COMPANIES,
PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED
ON SCHEDULE A HERETO,

        Defendants.


                                  DECLARATION OF JOSÉ SANTIAGO



 I, José Santiago, declare and state as follows:

          1.          This declaration is based upon my personal knowledge of the facts stated

          herein or on the business records that were made at the time or in the regular course of

          business. If called as a witness, I could and would testify to the statements made herein.

          2.          I am the Sales Manager of EMOJI COMPANY GmbH and am knowledgeable

          about or have access to business records concerning all aspects of the brand protection

          operation of EMOJI COMPANY GmbH including, but not limited to, its trademarks,

          copyrights, other intellectual property, sales, on-line sales, advertising, marketing, media

          coverage, and associated international operations. I make this declaration from matters

          within my own knowledge, except where otherwise stated.

          3.         Plaintiff, EMOJI COMPANY GmbH acts as the Sales, Marketing, Design and



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    Distribution arm of EMOJI products worldwide.

    4.      EMOJI COMPANY GmbH is in the business of developing, marketing, selling

    and distributing EMOJI products. The EMOJI brand has won multiple international

    awards in the licensing business including the “Best Lifestyle Property of the Year” in

    2018 and “Best Teen or Adult Licensed Property” in 2019 and other awards in

    marketplaces all over the world. EMOJI COMPANY GmbH has executed more than

    800 licensing partnerships with renowned companies including Nestle, Ferrero, Danone,

    Kellogg’s, Pepsico, Burger King, Walmart, Nikon, Fuji, Random House, the Swiss Post

    and many more. EMOJI COMPANY GmbH is the official source of EMOJI products:

    https://www.emoji.com/




    5.      EMOJI COMPANY GmbH has protected its EMOJI Trademark globally by

    obtaining respective registrations for the trademark under all commercially relevant

    jurisdictions. It is the owner of U.S. trademark Registration No.s 4,868,832, 5,202,078

    and 5,415,510 for the EMOJI mark in the United States. The above registration for the



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    EMOJI Trademark is valid, subsisting, and in full force and effect. A true and correct

    copy of the federal trademark registration certificate for the EMOJI Trademark is

    attached hereto as Exhibit 1.

    6.        The EMOJI Trademark is distinctive and identifies the merchandise as goods

    from EMOJI COMPANY GmbH.

    7.        The EMOJI Trademark has been continuously used and never abandoned.

    8.        EMOJI COMPANY GmbH has expended substantial time, money, and other

    resources in developing, advertising, and otherwise promoting the EMOJI Trademark.

    As a result, products associated with the EMOJI Trademark are recognized and

    exclusively associated by consumers, the public, and the trade as being products

    sourced from EMOJI COMPANY GmbH.

    9.        The success of the EMOJI brand has resulted in its significant

    counterfeiting. Consequently, EMOJI COMPANY GmbH is implementing an anti-

    counterfeiting program and is investigating suspicious websites and online

    marketplace listings identified through external vendors in proactive Internet

    sweeps.

    10.       Monetary    damages   alone       cannot   adequately   compensate   EMOJI

    COMPANY GmbH for ongoing infringement because monetary damages fail to

    address the loss of control of and damage to EMOJI COMPANY GmbH’s

    reputation and goodwill. Furthermore, monetary damages are difficult, if not

    impossible, to completely ascertain due to the inability to fully quantify the

    monetary damage caused to EMOJI COMPANY GmbH’s reputation and goodwill

    by acts of infringement.

    11.       EMOJI COMPANY GmbH’s goodwill and reputation are irreparably

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    damaged when the EMOJI Trademark is used on goods not authorized, produced,

    or manufactured by EMOJI COMPANY GmbH. Moreover, consumer brand

    confidence is damaged, which can result in a loss of future sales and market share.

    The extent of harm to EMOJI COMPANY GmbH’s reputation and goodwill and the

    possible diversion of customers due to loss in brand confidence are largely

    unquantifiable.

    12.     EMOJI COMPANY GmbH is further irreparably harmed by the

    unauthorized use of the EMOJI Trademark because counterfeiters take away

    EMOJI COMPANY GmbH’s ability to control the nature and quality of products

    used with the EMOJI Trademark. Loss of quality control over goods using the

    EMOJI Trademark and, in turn, loss of control over our reputation in neither

    calculable nor precisely compensable. The sale of Counterfeit EMOJI Products

    using the EMOJI Trademark also causes consumer confusion, which weakens

    EMOJI COMPANY GmbH’s brand recognition and reputation. Consumers who

    mistakenly believe that the Counterfeit EMOJI Products they have purchased

    originated from EMOJI COMPANY GmbH will come to believe that EMOJI

    COMPANY GmbH offers low-quality products. Inferior quality products will

    result in increased skepticism and hesitance in consumers presented with genuine

    EMOJI Products, resulting in a loss of undermining of EMOJI COMPANY

    GmbH’s reputation and goodwill. Counterfeit EMOJI COMPANY GmbH Products,

    primarily coming from China can be extremely dangerous and present alarming

    safety hazards to children.

    13.     EMOJI COMPANY GmbH is further irreparably damaged due to a loss in

    exclusivity. The EMOJI Products are meant to be exclusive. EMOJI COMPANY

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    GmbH’s extensive marketing and distribution of EMOJI Products are aimed at

    growing and sustaining sales of EMOJI Products. The EMOJI Trademark is

    distinctive and signifies to consumers that the products originate from EMOJI

    COMPANY GmbH and are manufactured to EMOJI COMPANY GmbH’s high-

    quality standards. When counterfeiters use the EMOJI Trademark on goods without

    EMOJI COMPANY GmbH’s authorization, the exclusivity of EMOJI COMPANY

    GmbH’s products, as well as EMOJI COMPANY GmbH’s reputation, are damaged

    and eroded, resulting in a loss of unquantifiable future sales.

    14.     EMOJI COMPANY GmbH will suffer immediate and irreparable injury,

    loss, or damage if an ex parte Temporary Restraining Order is not issued in

    accordance with Federal Rule of Civil Procedure 65(b)(1).



    I declare under penalty of perjury that the foregoing is true and correct.

    Executed on July 13, 2022.




                                                 /s/ _______________




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